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 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed December 13, 2018
                                              United States Bankruptcy Judge
    ______________________________________________________________________




                                         In the United States Bankruptcy Court
                                           For the Northern District of Texas
                                                 DALLAS DIVISION


In Re:                                                                           Case No. 18-32462-HDH-13
GREER A SMITH
            Debtor


                       Order Dismissing Chapter 13 Case Pursuant to General Order 2017-01
                                               Without Prejudice

On representation of the Standing Chapter 13 Trustee as evidenced by the signature below, that the Debtor failed to timely
pay the Trustee one or more pre-Confirmation payments specified in the Debtor's Plan and that 17 days written notice of
such failure was given to Debtor and Attorney for Debtor, if any, prior to submission.

IT IS THEREFORE, FURTHER ORDERED that this case is hereby DISMISSED pursuant to General Order
2017-01 and that all debts due and owing creditors as of this date are NOT DISCHARGED or affected in any manner by
this order.
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Order Dismissing Chapter 13 Case Pursuant to General Order 2017-01, Page 2
18-32462-HDH-13
GREER A SMITH




                                              ### End of Order ###


Approved: /s/ Thomas D. Powers
          Thomas D. Powers, Trustee
          State Bar # 16218700
          Office of the Standing Chapter 13 Trustee
          105 Decker Ct
          Suite 1150 11th Floor
          Irving, TX 75062
          (214) 855-9200 / (214) 965-0757 (Fax)
       Case 18-32462-hdh13 Doc 28 Filed 12/15/18              Entered 12/15/18 23:33:16         Page 3 of 4
                                       United States Bankruptcy Court
                                        Northern District of Texas
In re:                                                                                  Case No. 18-32462-hdh
Greer A. Smith                                                                          Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0539-3           User: ctello                 Page 1 of 2                   Date Rcvd: Dec 13, 2018
                               Form ID: pdf022              Total Noticed: 68


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 15, 2018.
db             +Greer A. Smith,    8181 Midtown Blvd.,    Apt. 7109,    Dallas, TX 75231-4592
18211426       +AD Astra Recovery Services,     7330 W. 33rd St. N. #118,     Wichita, KS 67205-9370
18211427       +American Express,    P.O. Box 981537,    El Paso, TX 79998-1537
18266483        American Express National Bank,     c/o Becket and Lee LLP,     PO Box 3001,
                 Malvern PA 19355-0701
18211428       +Apria DME,    P.O. Box 515489,    Dallas, TX 75251-5489
18211429       +Attorney General of The United States,     Main Justice Building, Room 5111,
                 10th & Constitution Avenue, N.W.,     Washington, D.C. 20530-0001
18211430        Balance Loans,    180 N. Upper Wacher Dr. #300,     Chicago, IL 60606
18211431       +Banner Financial,    240 Wynnewood Vill,    Dallas, Texas 75224-1826
18211432       +Big Picture Loans,    P.O. Box 704,    Watersmeet, MI 49969-0704
18211434       +Cash Factory,    2233 Paradise Road,    Las Vegas, NV 89104-2528
18256479       +Cash Factory USA,    6965 S. Rainbow Blvd., Ste. 130,     Las Vegas, NV 89118-3280
18211436       +Chase Bank,    P.O. Box 659732,    San Antonio, TX 78265-9732
18211437       +Check Into Cash,    P.O. Box 4115,    Concord, CA 94524-4115
18211439       +Check N Go,    100 Commercial Dr.,    Fairfield, OH 45014-5556
18211438       +Check N Go,    350 N. St. Paul St.,    Dallas, TX 75201-4240
18270665       +Conn Appliances, Inc.,    c/o Becket and Lee LLP,     PO Box 3002,     Malvern PA 19355-0702
18211445       +Domain at Midtown Park,    8169 Midtown Blvd.,     Dallas, TX 75231-4473
18211446       +Educational E.C.U.,    1617 W. 7th St.,    Ft. Worth, TX 76102-2597
18211447       +Emoney USA,    2310 W. 75th St. Suite 201,    Prairie Villiage, KS 66208-3508
18211448       +Fed Loan Servicing,    P.O. Box 60610,    Harrisburg, PA 17106-0610
18289109       +Global Trust Management, LLC.,     4805 W. Laurel St. STE 300,     Tampa, FL 33607-4541
18211449       +Inbox Loans,    P.O. Box 881,    Santa Rosa CA 95402-0881
18211450        Internal Revenue Service,     P.O Box 7346 Philadelphia, PA 19101-7346
18289004       +JD Receivables LLC,    PO Box 382656,    Germantown, TN 38183-2656
18211452       +Loan by Phone,    201 Keith Street, Suite 80,     Cleveland, TN 37311-5867
18211453       +MaxLend,    P.O. Box 639,   Parshall, ND 58770-0639
18211456       +Money Lion,    8 South Michigan Ave. #1803,     Chicago, IL 60603-3351
18211457       +National Credit Audit Corp.,     12770 Coit Road #1000,     Dallas, TX 75251-1348
18211458       +National Medical Professionals,     PO Box 842274,    Dallas, TX 75284-2274
18260543        Pendrick Capital Partners, LLC,     PO BOX 141419,    IRVING, TX 75014-1419
18211461      #+Power FInance Texas,    9595 Six Pines Dr.,     Suite 8210,    The Woodlands, TX 77380-1642
18211462       +Riverbend Finance,    P.O. Box 557,    Hays, MT 59527-0557
18211464       +Texas Attorney General’s Office,     P.O. Box 12548,    Austin, Texas 78711-2548
18211465       +Texas Health Resources,    P.O. Box 910013,     Dallas, TX 75391-0013
18211466       +Texas Health Resources ER,     P.O. Box 847460,    Dallas, TX 75391-0001
18211468       +Time Finance,    1412 Main St., #200,    Dallas, TX 75202-4070
18211469       +Tonti Lake Apartments,    7777 Glen America Dr.,     Dallas, TX 75225-1844
18211470      #+Toronjo & Prosser Law,    10000 N. Central Expressway,      Suite 443,    Dallas, Texas 75231-4112
18211472        Uncle Warbucks,    P.O. Box 1469,    Kahnawake, Quebec JOL 1B0
18365462        Uncle Warbucks,    PO Box 1329,    Kahnawake, Quebec,     J0L1B0
18211473       +Upgrade Inc.,    2 N Central Ave.,    10th Floor,    Phoenix, AZ 85004-2322
18211474       +White Pine Lending,    3051 Sand Lake Road,     Crandon, WI 54520-8815
18211476       +World Loans,    6012 Abrams Rd. #101,    Dallas, TX 75231-8001

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
18284283        E-mail/PDF: resurgentbknotifications@resurgent.com Dec 13 2018 23:30:15
                 Ashley Funding Services, LLC its successors and,     assigns as assignee of Laboratory,
                 Corporation of America Holdings,    Resurgent Capital Services,    PO Box 10587,
                 Greenville, SC 29603-0587
18211433       +E-mail/Text: jolene.cozad@if-na.com Dec 13 2018 23:33:34       Cash Control,
                 c/o First Financial Loan Company,    84 Villa Rd.,    Greenville, SC 29615-3052
18211435       +E-mail/Text: opsqa_usbankruptcy@cashnetusa.com Dec 13 2018 23:31:34        CashNet USA,
                 175 West Jackson,    Suite 1000,   Chicago, IL 60604-2863
18249923       +E-mail/Text: opsqa_usbankruptcy@cashnetusa.com Dec 13 2018 23:31:34        CashNetUSA,
                 175 W Jackson Blvd,    Suite 1000,   Chicago, IL 60604-2863
18211440       +E-mail/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM Dec 13 2018 23:32:04        Comenity - Overstock,
                 P.O. Box 182120,    Columbus, OH 43218-2120
18211441       +E-mail/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM Dec 13 2018 23:32:05        Comenity - Wayfair,
                 P.O. Box 182789,    Columbus, OH 43218-2789
18211442       +E-mail/Text: bncconnsnotices@becket-lee.com Dec 13 2018 23:33:44        Conns Credit Co.,
                 P.O. Box 2358,    Beamont, TX 77704-2358
18211443       +E-mail/PDF: creditonebknotifications@resurgent.com Dec 13 2018 23:29:31        Credit One Bank,
                 PO Box 98872,    Las Vegas, NV 89193-8872
18211444       +E-mail/Text: CSIBKR@CREDITSYSTEMSINTL.COM Dec 13 2018 23:33:33       Credit Systems Int’l Inc.,
                 1277 Country Club Ln.,    Fort Worth, TX 76112-2304
18273280        E-mail/PDF: resurgentbknotifications@resurgent.com Dec 13 2018 23:29:37
                 LVNV Funding, LLC its successors and assigns as,     assignee of MHC Receivables, LLC and,
                 FNBM, LLC,    Resurgent Capital Services,    PO Box 10587,   Greenville, SC 29603-0587
18211451       +E-mail/Text: bankruptcy@moneylion.com Dec 13 2018 23:33:27       Lion Loans,    P.O. Box 1547,
                 Sandy, UT 84091-1547
18259942        E-mail/Text: bkr@cardworks.com Dec 13 2018 23:31:25       MERRICK BANK,
                 Resurgent Capital Services,    PO Box 10368,    Greenville, SC 29603-0368
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District/off: 0539-3                  User: ctello                       Page 2 of 2                          Date Rcvd: Dec 13, 2018
                                      Form ID: pdf022                    Total Noticed: 68


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
18211454       +E-mail/Text: bkr@cardworks.com Dec 13 2018 23:31:25      Merrick Bank,     P.O. Box 9201,
                 Old Bethpage, NY 11804-9001
18211455       +E-mail/Text: bankruptcy@moneykey.com Dec 13 2018 23:33:41       Money Key,
                 3422 Old Capitol Trail Suite 1613,    Wilmington, DE 19808-6124
18211459       +E-mail/Text: bankruptcynotices@schear.net Dec 13 2018 23:32:53
                 NCP Finance Limited Partnership,    205 Sugar Campe Circle,    Dayton, OH 45409-1970
18211460        E-mail/Text: bankruptcy@nfm.com Dec 13 2018 23:32:21      Nebraska Furniture Mart,
                 P.O. Box 3456,   Omaha, NE 68103
18219146        E-mail/Text: bankruptcy@nfm.com Dec 13 2018 23:32:21      NEBRASKA FURNITURE MART,
                 5600 NEBRASKA FURNITURE MART DR,    DEPT #08444,   THE COLONY, TX 75056-5348
18288698        E-mail/Text: bnc-quantum@quantum3group.com Dec 13 2018 23:32:18
                 Quantum3 Group LLC as agent for,    Comenity Bank,   PO Box 788,    Kirkland, WA 98083-0788
18288680        E-mail/Text: bnc-quantum@quantum3group.com Dec 13 2018 23:32:18
                 Quantum3 Group LLC as agent for,    Comenity Capital Bank,    PO Box 788,
                 Kirkland, WA 98083-0788
18257606       +E-mail/Text: bankruptcy@speedyinc.com Dec 13 2018 23:31:55       Speedy Cash,    P.O. Box 780408,
                 Wichita, KS 67278-0408
18211463       +E-mail/Text: bankruptcyclerk@tabc.texas.gov Dec 13 2018 23:33:26
                 Texas Alcohol Beverage Commissions,    P.O. Box 13127,   Austin, Texas 78711-3127
18211467       +E-mail/Text: ridpacer@twc.state.tx.us Dec 13 2018 23:33:20       Texas Workforce Commission,
                 TEC Building-Bankruptcy,    101 East 15th Street,   Austin, Texas 78778-0001
18211471       +E-mail/Text: media@trueaccord.com Dec 13 2018 23:33:47       TrueAccord,
                 303 2nd Street, Suite 750 South,    San Francisco, CA 94107-2543
18211475       +E-mail/PDF: bk@worldacceptance.com Dec 13 2018 23:29:29       World Finance Corp.,
                 P.O. Box 6429,   Greenville, SC 29606-6429
18256361       +E-mail/PDF: bk@worldacceptance.com Dec 13 2018 23:30:53
                 World Finance Corp. c/o World Acceptance Corp.,    Attn: Bankruptcy Processing Center,
                 PO Box 6429,   Greenville, SC 29606-6429
                                                                                               TOTAL: 25

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 15, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 13, 2018 at the address(es) listed below:
              Derek K. Prosser    on behalf of Debtor Greer A. Smith dprosser@t-plaw.com, mtoronjo@t-plaw.com,
               ecf@t-plaw.com
              Mark Stromberg     on behalf of Creditor    Conn Appliances, Inc. d/b/a Conn’s HomePlus
               mark@strombergstock.com, sarah@strombergstock.com;kedrin@strombergstock.com
              Mark S. Toronjo    on behalf of Debtor Greer A. Smith mtoronjo@t-plaw.com, dprosser@t-plaw.com
              Thomas Powers     cmecf@dallasch13.com
              Tom W. Sharp    on behalf of Creditor    Nebraska Furniture Mart, Inc. tsharp@blalack.com
              United States Trustee    ustpregion06.da.ecf@usdoj.gov
                                                                                              TOTAL: 6
